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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


FEDERAL TRADE COMMISSION,
STATE OF CALIFORNIA,
STATE OF ILLINOIS,
STATE OF MINNESOTA,
STATE OF NEW YORK,
STATE OF WASHINGTON                                Case No. 1:23-cv-03053
and
STATE OF WISCONSIN,

                            Plaintiffs,            Judge John F. Kness

v.

AMGEN INC.
and
HORIZON THERAPEUTICS PLC,

                         Defendants.



STATEMENT CONCERNING AGREED-TO BRIEFING SCHEDULE
   AND PAGE LIMITS FOR DEFENDANTS AMGEN INC. AND
 HORIZON THERAPEUTICS PLC’S MOTION TO MODIFY THE
          INTERIM CONFIDENTIALITY ORDER

               In order to facilitate an expedited ruling on Defendants Amgen Inc. and

Horizon Therapeutics plc’s Motion to Modify the Interim Confidentiality Order,

Defendants and Plaintiff Federal Trade Commission have agreed on the following

briefing schedule and page limits:
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            Event                       Deadline                     Page Limit

 Defendants’ Motion to         June 30, 2023                7 pages
 Modify the Interim
 Confidentiality Order
 Plaintiff’s Response to       July 10, 2023                7 pages
 Defendants’ Motion to
 Modify the Interim
 Confidentiality Order
 Defendant’s Reply to the      July 14, 2023                4 pages
 Plaintiff’s Response to
 Defendants’ Motion to
 Modify the Interim
 Confidentiality Order


June 30, 2023

Respectfully submitted,


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